 1   AMANDA N. FERNS, Bar No. 233104
     FERNS, ADAMS & ASSOCIATES,
 2   A Professional Corporation
     2815 Mitchell Drive, Suite 210
 3   Walnut Creek, CA 94598
     (925) 927-3401
 4   aferns@fernslaw.com
 5   Attorneys for Creditor
     DIRECT CAPITAL CORPORATION
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 8
 9                         UNITED STATES BANKRUPTCY COURT
10                         NORTHERN DISTRICT OF CALIFORNIA
11
12   In re:                                       CASE NO.      19-30625
13   JEFFREY E DEWEESE dba JEFFREY E              Chapter 13 Proceeding
     DEWEESE,
14                                                OBJECTION TO CONFIRMATION
                 Debtor.                          SECOND AMENDED PLAN
15                                     /
16                                                (11 U.S.C. §1325, BLR 3015-1)
17
18         TO DEBTOR JEFFREY E DEWEESE dba JEFFREY E DEWEESE, DEBTOR'
19   ATTORNEY OF RECORD (IF ANY), AND TRUSTEE David Burchard:
20         COMES NOW DIRECT CAPITAL CORPORATION (hereinafter "Creditor")
21   who objects to the Confirmation of the Second Amended Chapter 13
22   Plan as proposed by the Debtor JEFFREY E DEWEESE dba JEFFREY E
23   DEWEESE on the following grounds:
24         1.    Creditor is the holder of a SECURED CLAIM in the within
25   bankruptcy proceeding.        The balance due on the Claim is at least:
26   $211,381.63 not including interest and other fees and costs. The
27   Debtor has valued the personal property security:
28   ///

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     OBJECTION TO CONFIRMATION SECOND AMENDED CHAPTER 13 PLAN




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 1    Equipment       Equipment Description
 2    Schedule
      DCC-0717878     (1) 105-7012-000 Picosure Laser System, serial #
 3                    PICO0161;
 4                    (3) HP 23" Windows Touchscreen Camera with Vectra
      DCC-0766265     Wall Mount #TMD60002A; (2) Samsung Galaxy Android
 5                    Camera - White Body SAMGXYWHT # TMD70001A; (1)
                      Samsung Galaxy NX 20.3MP Camera and 18-55mm Lens
 6                    with Android for Touch MD, 20.3 MM 16gb, Black,
                      #TMD70002A; (2) Base, Pwr Prog Table 641
 7                    Programmable Midmrk, #629382; (2) Table Power Proc
                      W/rotation Midmrk, #83068; (4) Table Top 641
 8                    Fossil, #002-0968238; (4) Arm Chair, Ultra
                      Upholstery 541 Fossil, #SA398001238; (1) Base,
 9                    Caster F/830 Power Table Midmrk, #525189; (2)
                      Headrest, U-Shaped Prem Fossil, #9A384001235; (2)
10                    Headrest, Magnetic Prem Fossil, #8A395001238; (4)
                      Control, Hand Linear F/ible "factory Installed"
11                    Midmrk, #529990; (4) Stool, Exam Sleg Airlift
                      Fossil, #272-001-238; (1) VIOSIA-6 Delux Kit;
12
      DCC-1148985     (1) Smartlipo TPX 40/24/15, #105-0058-810, (1)
13                    Smartskin C02 Laser System, #105-0075-000
14    DCC-0946859     (1) 105-3500-00 Vectus Laser System w/accessories
15
16   (hereinafter referred to as "personal property") at: $210,000.00
17   through a Motion to Value Personal Property Collateral.
18         2.     Creditor   objects     to   the    monthly    adequate       protection
19   amounts for the aforementioned personal property. According to the
20   Debtor's     Second   Amended    Chapter       13   Plan   adequate       protection
21   payments shall equal the monthly dividend and the Debtor lists the
22   Monthly Dividend for Direct Capital in the amount of $4,400.00.
23         3.     Pursuant to 11 U.S. Code §361 adequate protection can be
24   cash monthly payments           for the decrease in the value of the
25   Creditor's interest in the property. In this case the Debtor has no
26   interest in the equipment and therefore any depreciation equates to
27   the decrease in Creditor's interest in the personal property.
28         4.     As more particularly described in the Declaration of

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     OBJECTION TO CONFIRMATION SECOND AMENDED CHAPTER 13 PLAN




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 1   Amanda N. Ferns being filed in support of this objection, Creditor
 2   can show that the decrease in the value of the personal property is
 3   between $9,812.11 and $10,636.10 with the average being $10,224.11.
 4   Therefore Creditor objects to the Debtor's Second Amended Chapter
 5   13 Plan because monthly depreciation is $10,224.11 and therefore
 6   that should be the adequate protection amount. and
 7         5.     The Plan does not provide for adequate insurance, with
 8   the Creditor listed as Loss Payee, on the aforementioned personal
 9         WHEREFORE, Creditor prays of the Court to make its order
10   denying confirmation of the Debtor' Chapter 13 Plan, and dismiss
11   the Chapter 13 case, in the alternative, convert the case to a case
12   under Chapter 7 of the Bankruptcy Code.
13
14                                         Respectfully Submitted,
15
     Dated:     September 3, 2019          FERNS, ADAMS & ASSOCIATES
16                                         A Professional Corporation
17
18
                                           /s/ Amanda N. Ferns
19                                         AMANDA N. FERNS
                                           Attorneys for Creditor
20                                         DIRECT CAPITAL CORPORATION
21   ANF:mm
22   File No. 53932
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 1                              PROOF OF SERVICE BY MAIL
 2               I declare that I am employed in the county of Contra
 3   Costa, California.         I am over the age of eighteen and not a party
 4   to the within action.            My business address is:             2815 Mitchell
 5   Drive, Suite 210, Walnut Creek, CA               94598.
 6         On September 4 2019, I served a true and correct copy of:
 7         OBJECTION TO CONFIRMATION SECOND AMENDED CHAPTER 13
           PLAN AND DECLARATION OF AMANDA N. FERNS IN SUPPORT
 8         OF OBJECTION TO CONFIRMATION OF SECOND AMENDED PLAN
 9   on the parties in this proceeding by placing a true copy thereof
10   enclosed in a sealed envelope with postage fully prepaid in the
11   United   States    mail     at    Walnut      Creek,   California    addressed      as
12   follows:
13   DEBTOR                                  CHAPTER 13 TRUSTEE
14   JEFFREY E DEWEESE dba                   David Burchard
     JEFFREY E DEWEESE                       P.O. Box 8059
15   1199 Bush Street #590                   Foster City, CA 94404
     San Francisco, CA 94109
16
     DEBTORS' ATTORNEY                       UNITED STATES TRUSTEE
17
     Badma Gutchinov                         U.S. Trustee
18   Law Offices of Badma                    Office of the U.S. Trustee / SF
     Gutchinov                               Phillip J. Burton Federal Building
19   P. O. Box 16431                         450 Golden Gate Ave. 5th Fl., #05-0153
     San Francisco, CA 94116                 San Francisco, CA 94102
20
21         Executed on September 4 2019, at Walnut Creek,                  California.
22         I declare that I am employed in the office of a member of the bar
23   of this Court at whose direction the service was made.
24         I declare under penalty of perjury under the laws of the United
25   States of America that the foregoing is true and correct to the best of
26   my knowledge and believe.
27                                    /s/ Maricel Makalintal
                                       Maricel Makalintal
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     OBJECTION TO CONFIRMATION SECOND AMENDED CHAPTER 13 PLAN




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